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CGFD33 (10/01/16)




ORDERED in the Southern District of Florida on November 28, 2023




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                 Case Number: 23−16706−PDR
                                                                                                                 Chapter: 13


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60TH Avenue
Plantation, FL 33317

SSN: xxx−xx−6171




                         ORDER DISCHARGING TRUSTEE AND CLOSING CASE


An order dismissing the above named case has been entered. The trustee, Robin R Weiner, having filed a
final report, is discharged and this case is closed.


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